3:14-cv-03577-CMC   Date Filed 02/08/16   Entry Number 168-7   Page 1 of 8
3:14-cv-03577-CMC   Date Filed 02/08/16   Entry Number 168-7   Page 2 of 8
3:14-cv-03577-CMC   Date Filed 02/08/16   Entry Number 168-7   Page 3 of 8
3:14-cv-03577-CMC   Date Filed 02/08/16   Entry Number 168-7   Page 4 of 8
3:14-cv-03577-CMC   Date Filed 02/08/16   Entry Number 168-7   Page 5 of 8
3:14-cv-03577-CMC   Date Filed 02/08/16   Entry Number 168-7   Page 6 of 8
3:14-cv-03577-CMC   Date Filed 02/08/16   Entry Number 168-7   Page 7 of 8
3:14-cv-03577-CMC   Date Filed 02/08/16   Entry Number 168-7   Page 8 of 8
